        Case: 25-1916   Document: 13           Filed: 06/12/2025   Pages: 11



                                  No. 25-1916

   IN THE UNITED STATES COURT OF APPEALS
          FOR THE SEVENTH CIRCUIT

                               CITY OF CHICAGO,

                               Plaintiff-Appellee,

                                        v.

                                BP P.L.C., ET AL.,

                             Defendants-Appellants.


            On Appeal from the United States District Court
          for the Northern District of Illinois, Eastern Division
         Case No. 1:24-cv-02496 – Hon. Franklin U. Valderrama


      AMENDED DOCKETING STATEMENT OF DEFENDANTS-APPELLANTS



SULLIVAN & CROMWELL LLP                      GIBSON, DUNN & CRUTCHER LLP
Richard C. Pepperman II*                     Theodore J. Boutrous, Jr.*
125 Broad Street                             William E. Thomson
New York, New York 10004                     333 South Grand Avenue
Telephone: 212.558.4000                      Los Angeles, CA 90071
peppermanr@sullcrom.com                      Telephone: (213) 229-7000
                                             tboutrous@gibsondunn.com
Amanda Flug Davidoff                         wthomson@gibsondunn.com
1700 New York Avenue, N.W.
Suite 700                                    Joshua D. Dick
Washington, D.C. 20006                       One Embarcadero Center, Suite 2600
Telephone: 202.956.7500                      San Francisco, CA 94111
davidoffa@sullcrom.com                       Telephone: (415) 393-8200
                                             jdick@gibsondunn.com
         Case: 25-1916    Document: 13      Filed: 06/12/2025   Pages: 11


ARNOLD & PORTER KAYE SCHOLER              Thomas G. Hungar
LLP                                       1700 M St., N.W.
Jonathan W. Hughes                        Washington, D.C. 20036
3 Embarcadero Center, 10th Floor          Telephone: (202) 887-3784
San Francisco, CA 94111                   thungar@gibsondunn.com
Telephone: (415) 471-3100
jonathan.hughes@arnoldporter.com          RILEY SAFER HOLMES
                                          & CANCILA LLP
John D. Lombardo                          Patricia Brown Holmes
777 South Figueroa Street, 44th Floor     Ronald S. Safer
Los Angeles, CA 90017                     Lauren E. Jaffe
Telephone: (213) 243-4000                 Christopher L. Schaeffer
john.lombardo@arnoldporter.com            1 S. Dearborn St., Ste. 2200
                                          Chicago, IL 60603
Diana E. Reiter                           Telephone: (312) 471-8700
250 West 55th Street                      pholmes@rshc-law.com
New York, NY 10019                        rsafer@rshc-law.com
Telephone: (212) 836-8000                 ljaffe@rshc-law.com
diana.reiter@arnoldporter.com             cschaeffer@rshc-law.com

SCHARF BANKS MARMOR LLC                   SUSMAN GODFREY L.L.P.
Stephanie A. Scharf                       Erica W. Harris
George D. Sax                             1000 Louisiana St., Suite 5100
30 W. Hubbard Street, Suite #450          Houston, TX 77002
Chicago, IL 60654                         Telephone: (713) 651-9366
Telephone: (312) 726-6000                 eharris@susmangodfrey.com
sscharf@scharfbanks.com
gsax@scharfbanks.com                      STERN, KILCULLEN & RUFOLO,
                                          LLC
Attorneys for Defendants-Appellants BP    Herbert J. Stern
p.l.c., BP America Inc. and BP Products   Joel M. Silverstein
North America Inc.                        325 Columbia Turnpike, Suite 110
                                          Florham Park, NJ 07932-0992
                                          Telephone: (973) 535-1900
                                          hstern@sgklaw.com
                                          jsilverstein@sgklaw.com

                                          Attorneys for Defendants Chevron
                                          Corporation and Chevron U.S.A. Inc.
         Case: 25-1916    Document: 13     Filed: 06/12/2025   Pages: 11


K&L GATES LLP                            MCGUIREWOODS LLP
Nicole C. Mueller*                       Brian D. Schmalzbach*
Kenn Brotman                             800 East Canal Street
70 West Madison Street                   Richmond, VA 23219-3916
Suite 3300                               Telephone: (804) 775-4746
Chicago, Illinois 60602                  bschmalzbach@mcguirewoods.com
Telephone: (312) 372-1211
nicole.mueller@klgates.com                Patrick P. Clyder
kenn.brotman@klgates.com                  77 West Wacker Drive
                                          Suite 4100
Attorneys for Defendants Shell plc, Shell Chicago, IL 60601-1818
USA, Inc., and Shell Oil Products Company Telephone: (312) 750-8668
LLC                                       pclyder@mcguirewoods.com

PAUL, WEISS, RIFKIND, WHARTON &          Jeremiah J. Anderson
GARRISON LLP                             845 Texas Avenue, 24th Floor
Kannon K. Shanmugam*                     Houston, TX 77002-2906
Email: kshanmugam@paulweiss.com          Telephone: (713) 571-9191
William T. Marks                         jjanderson@mcguirewoods.com
Email: wmarks@paulweiss.com
2001 K Street, N.W.                      Attorneys for Defendant       American
Washington, DC 20006                     Petroleum Institute
(202) 223-7300
                                         LATHAM & WATKINS LLP
Daniel J. Toal                           Sean M. Berkowitz*
1285 Avenue of the Americas              330 N. Wabash Avenue, Suite 2800
New York, NY 10019-6064                  Chicago, IL 60611
Telephone: (212) 373-3000                Telephone: (312) 876-7700
dtoal@paulweiss.com                      sean.berkowitz@lw.com

JOHNSON & BELL, LTD.                     Nicole C. Valco
H. Patrick Morris                        Katherine A. Rouse
David F. Fanning                         505 Montgomery Street, Suite 2000
Danielle Austriaco                       San Francisco, CA 94111-6538
33 W. Monroe St., Suite 2700             Telephone: (415) 391-0600
Chicago, IL 60603                        nicole.valco@lw.com
Telephone: (312) 372-0770                katherine.rouse@lw.com
morrisp@jbltd.com
fanningd@jbltd.com                       Attorneys for Defendants Phillips 66
austriacod@jbltd.com                     and Phillips 66 Company

Attorneys for Defendants Exxon
Mobil Corporation and ExxonMobil
Oil Corporation
        Case: 25-1916   Document: 13        Filed: 06/12/2025   Pages: 11


WILMER CUTLER PICKERING HALE
AND DORR LLP
Hallie B. Levin*
7 World Trade Center
250 Greenwich Street
New York, NY 10007
Telephone: (212) 230-8800
hallie.levin@wilmerhale.com

Matthew T. Martens
2100 Pennsylvania Avenue, N.W.
Washington, D.C. 20037
Telephone: (202) 663-6000
matthew.martens@wilmerhale.com

Robert Kingsley Smith
60 State Street
Boston, MA 02109
Telephone: (617) 526-6000
robert.smith@wilmerhale.com

Attorneys for Defendants ConocoPhillips
Company and ConocoPhillips




                                          * Counsel of Record
        Case: 25-1916       Document: 13         Filed: 06/12/2025    Pages: 11


      Pursuant to Circuit Rule 3(c), Defendants BP p.l.c.; BP America Inc.; BP

Products North America Inc.; Chevron Corporation; Chevron U.S.A. Inc.;

ConocoPhillips Company; ConocoPhillips; Phillips 66 Company; Phillips 66; Exxon

Mobil Corporation; ExxonMobil Oil Corporation; Shell Oil Products Company LLC;

Shell plc (f/k/a Royal Dutch Shell plc); Shell USA, Inc. (f/k/a Shell Oil Company); and

American Petroleum Institute, submit the following docketing statement.

      1.        There are no prior appellate proceedings in this case. The United States

District Court for the Northern District of Illinois did not designate that any party to

the proceedings meets the criteria in 28 U.S.C. § 1915(g). No party to the litigation

appears in an official capacity.

      2.        The central issue for appeal is whether the District Court had

jurisdiction over this case.

      3.        The District Court issued an Order on May 16, 2025 remanding the case

to the Circuit Court of Cook County, Illinois. D.C. Dkt. 113. Pursuant to Federal

Rules of Appellate Procedure 3 and 4, Defendants filed a timely Notice of Appeal on

May 28, 2025. D.C. Dkt. 123.

      4.        In Defendants’ view, the District Court had jurisdiction under 28 U.S.C.

§ 1442(a)(1).

      5.        The Seventh Circuit Court of Appeals has jurisdiction over the District

Court’s remand order under 28 U.S.C. § 1447(d).

      6.        Defendants paid the docketing fee for this appeal to the District Court

on May 28, 2025. D.C. Dkt. 123.
       Case: 25-1916       Document: 13         Filed: 06/12/2025    Pages: 11


      7.      Counsel of Record: The following attorneys will serve as counsel of

record for each Defendant:

           a. Theodore J. Boutrous, Jr., counsel of record for Defendants Chevron

              Corporation and Chevron U.S.A. Inc.

           b. Richard C. Pepperman II, counsel of record for Defendants BP p.l.c., BP

              America Inc. and BP Products North America Inc.

           c. Nicole C. Mueller, counsel of record for Defendants Shell plc, Shell USA,

              Inc., and Shell Oil Products Company LLC.

           d. Kannon K. Shanmugam, counsel of record for Defendants Exxon Mobil

              Corporation and ExxonMobil Oil Corporation.

           e. Brian D. Schmalzbach, counsel of record for Defendant American

              Petroleum Institute.

           f. Hallie B. Levin, counsel of record for Defendants ConocoPhillips

              Company and ConocoPhillips.

           g. Sean M. Berkowitz, counsel of record for Defendants Phillips 66 and

              Phillips 66 Company.
       Case: 25-1916   Document: 13      Filed: 06/12/2025   Pages: 11


Dated: June 12, 2025             Respectfully submitted,

                                 By: /s/ Theodore J. Boutrous, Jr.
                                 GIBSON, DUNN & CRUTCHER LLP
                                 Theodore J. Boutrous, Jr.
                                 William E. Thomson
                                 333 South Grand Avenue
                                 Los Angeles, CA 90071
                                 Telephone: (213) 229-7000
                                 tboutrous@gibsondunn.com
                                 wthomson@gibsondunn.com

                                 Joshua D. Dick
                                 One Embarcadero Center, Suite 2600
                                 San Francisco, CA 94111
                                 Telephone: (415) 393-8200
                                 jdick@gibsondunn.com

                                 Thomas G. Hungar
                                 1700 M St., N.W.
                                 Washington, D.C. 20036
                                 Telephone: (202) 887-3784
                                 thungar@gibsondunn.com

                                 RILEY SAFER HOLMES & CANCILA LLP
                                 Patricia Brown Holmes
                                 Ronald S. Safer
                                 Lauren E. Jaffe
                                 Christopher L. Schaeffer
                                 1 S. Dearborn St., Ste. 2200
                                 Chicago, IL 60603
                                 Telephone: (312) 471-8700
                                 pholmes@rshc-law.com
                                 rsafer@rshc-law.com
                                 ljaffe@rshc-law.com
                                 cschaeffer@rshc-law.com

                                 SUSMAN GODFREY L.L.P.
                                 Erica W. Harris
                                 1000 Louisiana, Suite 5100
                                 Houston, TX 77002
                                 Telephone: (713) 651-9366
                                 eharris@susmangodfrey.com
Case: 25-1916   Document: 13      Filed: 06/12/2025   Pages: 11


                          STERN, KILCULLEN & RUFOLO, LLC
                          Herbert J. Stern
                          Joel M. Silverstein
                          325 Columbia Turnpike, Suite 110
                          Florham Park, New Jersey 07932-0992
                          Telephone: (973) 535-1900
                          hstern@sgklaw.com
                          jsilverstein@sgklaw.com

                          Attorneys for Defendants Chevron Corporation
                          and Chevron U.S.A. Inc.

                          By: /s/ Richard C. Pepperman II
                          SULLIVAN & CROMWELL LLP
                          Richard C. Pepperman II*
                          125 Broad Street
                          New York, New York 10004
                          Telephone: 212.558.4000
                          peppermanr@sullcrom.com

                          Amanda Flug Davidoff
                          1700 New York Avenue, N.W.
                          Suite 700
                          Washington, D.C. 20006
                          Telephone: 202.956.7500
                          davidoffa@sullcrom.com

                          ARNOLD & PORTER KAYE SCHOLER
                          LLP
                          Jonathan W. Hughes
                          3 Embarcadero Center, 10th Floor
                          San Francisco, CA 94111-4024
                          Telephone: (415) 471-3100
                          jonathan.hughes@arnoldporter.com

                          John D. Lombardo
                          777 South Figueroa Street, 44th Floor
                          Los Angeles, CA 90017-5844
                          Telephone: (213) 243-4000
                          john.lombardo@arnoldporter.com
Case: 25-1916   Document: 13      Filed: 06/12/2025    Pages: 11


                          Diana E. Reiter
                          250 West 55th Street
                          New York, NY 10019-9710
                          Telephone: (212) 836-8000
                          diana.reiter@arnoldporter.com

                          SCHARF BANKS MARMOR LLC
                          Stephanie A. Scharf
                          George D. Sax
                          30 West Hubbard Street, Suite 500
                          Chicago, IL 60654
                          Telephone: (312) 662-6999
                          sscharf@scharfbanks.com
                          gsax@scharfbanks.com

                          Attorneys for Defendants BP p.l.c., BP America
                          Inc. and BP Products North America Inc.


                          By: /s/ Nicole C. Mueller
                          K&L GATES LLP
                          Nicole C. Mueller*
                          Kenn Brotman
                          70 West Madison Street
                          Suite 3300
                          Chicago, Illinois 60602
                          Telephone: (312) 372-1211
                          nicole.mueller@klgates.com
                          kenn.brotman@klgates.com

                          Attorneys for Defendants Shell plc, Shell USA,
                          Inc., and Shell Oil Products Company LLC

                          By: /s/ Kannon K. Shanmugam
                          PAUL, WEISS, RIFKIND, WHARTON &
                          GARRISON LLP
                          Kannon K. Shanmugam*
                          William T. Marks
                          2001 K Street, N.W.
                          Washington, DC 20006
                          Telephone: (202) 223-7300
                          Email: kshanmugam@paulweiss.com
                          Email: wmarks@paulweiss.com
Case: 25-1916   Document: 13      Filed: 06/12/2025   Pages: 11




                          Daniel J. Toal
                          1285 Avenue of the Americas
                          New York, NY 10019-6064
                          Telephone: (212) 373-3000
                          dtoal@paulweiss.com

                          JOHNSON & BELL, LTD.
                          H. Patrick Morris
                          David F. Fanning
                          Danielle Austriaco
                          33 W. Monroe St., Suite 2700
                          Chicago, IL 60603
                          Telephone: (312) 372-0770
                          morrisp@jbltd.com
                          fanningd@jbltd.com
                          austriacod@jbltd.com

                          Attorneys for Defendants Exxon Mobil
                          Corporation and ExxonMobil Oil Corporation

                          By: /s/ Brian D. Schmalzbach
                          MCGUIREWOODS LLP
                          Brian D. Schmalzbach*
                          800 East Canal Street
                          Richmond, VA 23219-3916
                          Telephone: (804) 775-4746
                          bschmalzbach@mcguirewoods.com

                          Patrick P. Clyder
                          77 West Wacker Drive
                           Suite 4100
                          Chicago, IL 60601-1818
                          Telephone: (312) 750-8668
                          pclyder@mcguirewoods.com

                          Jeremiah J. Anderson
                          845 Texas Avenue, 24th Floor
                          Houston, TX 77002-2906
                          Telephone: (713) 571-9191
                          jjanderson@mcguirewoods.com

                          Attorneys for Defendant American Petroleum
                          Institute
Case: 25-1916   Document: 13      Filed: 06/12/2025   Pages: 11




                          By: /s/ Hallie B. Levin
                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Hallie B. Levin *
                          7 World Trade Center
                          250 Greenwich Street
                          New York, NY 10007
                          Telephone: (212) 230-8800
                          hallie.levin@wilmerhale.com

                          Matthew T. Martens
                          2100 Pennsylvania Avenue, N.W.
                          Washington, D.C. 20037
                          Telephone: (202) 663-6000
                          matthew.martens@wilmerhale.com

                          Robert Kingsley Smith
                          60 State Street
                          Boston, MA 02109
                          Telephone: (617) 526-6000
                          robert.smith@wilmerhale.com

                          Attorneys for Defendants ConocoPhillips
                          Company and ConocoPhillips

                          By: /s/ Sean M. Berkowitz
                          LATHAM & WATKINS LLP
                          Sean M. Berkowitz*
                          330 N. Wabash Avenue, Suite 2800
                          Chicago, IL 60611
                          Telephone: (312) 876-7700
                          sean.berkowitz@lw.com

                          Nicole C. Valco
                          Katherine A. Rouse
                          505 Montgomery Street, Suite 2000
                          San Francisco, CA 94111-6538
                          Telephone: (415) 391-0600
                          nicole.valco@lw.com
                          katherine.rouse@lw.com

                          Attorneys for Defendants Phillips 66 and
                          Phillips 66 Company
